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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      OUTSOURCING FACILITIES
      ASSOCIATION, ET AL.,

           Plaintiffs,

      v.                                                 No. 4:25-cv-0174-P
      UNITED STATES FOOD AND DRUG
      ADMINISTRATION, ET AL.,

           Defendants.

                              OPINION & ORDER
           Before the Court are Plaintiffs Outsourcing Facilities Association’s
      and North American Custom Laboratories LLC Partners’ (collectively
      “Plaintiffs”) Motion for Summary Judgment (ECF No. 70); Defendants
      Dr. Robert M. Califf’s and the United States Food and Drug
      Administration’s (collectively, the “FDA”) Motion for Summary
      Judgment (ECF No. 68); and Intervenor Defendant Novo Nordisk Inc.’s
      (“Novo”) (collectively with the FDA, the “FDA Defendants”) Motion for
      Summary Judgment (ECF No. 72). Having considered the briefing,
      record, and applicable legal authorities, the Court will DENY Plaintiffs’
      Motion and GRANT the FDA Defendants’ Motions.

                                 BACKGROUND
         The Court’s previous orders in this case and the companion case
      thoroughly discuss the statutory and regulatory background, and the
      Court will not repeat it here. Outsourcing Facilities Ass’n v. U.S. Food
      & Drug Admin. (hereinafter “OFA I”), No. 4:24-CV-0953-P, 2025 WL
      746028, at *1–2 (N.D. Tex. Mar. 5, 2025) (Pittman, J.); Outsourcing
      Facilities Ass’n v. U.S. Food & Drug Admin. (hereinafter “OFA II”), No.
      4:25-CV-0174-P, 2025 WL 1239727, at *1–2 (N.D. Tex. Apr. 24, 2025)
      (Pittman, J.). Thus, the following is a brief recitation of the relevant
      procedural history of this case.
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         Plaintiffs filed this case on February 24, 2025, challenging the FDA’s
      removal of Ozempic® and Wegovy® (collectively, the “Novo Drugs”) from
      the shortage list. The FDA removed the Novo Drugs from the shortage
      list on February 21, 2025, when it issued its opinion (hereinafter, the
      “Delisting Action”). Subsequently, on March 4, 2025, Novo filed its
      Motion to Intervene, which the Court granted on March 5, 2025. On
      March 20, 2025, Plaintiffs filed their Motion for Preliminary Injunction
      and stay, which the Court denied on March 24, 2025. The Court placed
      the Parties on a briefing schedule for their respective Motions for
      Summary Judgment. Those Motions have been briefed and are ripe for
      consideration.

                              LEGAL STANDARD
          In a case challenging an agency action under the Administrative
      Procedure Act (“APA”), summary judgment “serves as the mechanism
      for deciding” whether the action “is supported by the administrative
      record and otherwise consistent with the APA standard of review.”
      Gadhave v. Thompson, No. 3:21-cv-2938-D, 2023 WL 6931334, at *1
      (N.D. Tex. Oct. 19, 2023) (citation omitted). The agency resolves “factual
      issues to arrive at a decision supported by the administrative record.”
      Yogi Metals Grp. Inc. v. Garland, 567 F. Supp. 3d 793, 797–98 (S.D. Tex.
      2021), aff’d, 38 F.4th 455 (5th Cir. 2022) (citation omitted). The district
      court then applies the APA standards of review to determine whether,
      as a matter of law, “the evidence in the administrative record permitted
      the agency to make the decision it did.” MRC Energy Co. v. U.S.
      Citizenship & Immigr. Servs., No. 3:19-cv-2003-K, 2021 WL 1209188, at
      *3 (N.D. Tex. Mar. 31, 2021) (citation omitted). The entire case is thus a
      question of law, with the district court sitting as an appellate tribunal.
      Id. at *3.

                                    ANALYSIS
         Plaintiffs’ Complaint raises six claims. See generally ECF No. 1.
      Those claims are: (1) rulemaking without conducting notice and
      comment; (2) failure to consider the statutory factors; (3) facially
      contradictory findings that undermine the basis of the agency action;
      (4) failure to consider countervailing evidence; (5) unlawful

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      interpretation of the statute under Loper Bright Enterprises v.
      Raimondo, 603 U.S. 369 (2024); and (6) failure to publish a rule in the
      federal registry. Id. at 14–20. In their respective Motions, the Parties
      each contend they are entitled to summary judgment on all of Plaintiffs’
      claims. ECF Nos. 68, 70, 72. Because claims one and six are both
      predicated on the premise that the Delisting Action is a rule, the Court
      considers them together. The Court will then address Plaintiffs’
      unlawful-interpretation claim. And finally, the Court concludes with
      Plaintiffs’ arbitrary-and-capricious claims.

      A. Notice-and-Comment and Failure to Publish Claims

         Plaintiffs’ first and sixth claims are predicated on the Delisting
      Action being a substantive rule. Plaintiffs assert that the Delisting
      Action is a substantive rule that the FDA should have issued in
      compliance with the APA’s stringent notice-and-comment requirements.
      In contrast, the FDA Defendants argue that the Delisting Action was
      properly issued through adjudication.

          As Plaintiffs state in their Motion, the arguments raised on this
      issue have been previously addressed by this Court three times. OFA I,
      2025 WL 746028, at *4–8; OFA I, 2025 WL 1397537, at *2 (N.D. Tex.
      May 13, 2025) (Pittman, J.); OFA II, 2025 WL 1239727, at *4. Thus, the
      Court has already thoroughly analyzed and decided this issue. The
      United States Court of Appeals for the Fifth Circuit has suggested it
      agrees with that determination. See Outsourcing Facilities Ass’n, v. U.S.
      Food and Drug Admin., No. 25-10385 at ECF No. 98-1 (“For
      substantially the reasons given by the district court in its thorough
      opinion explaining its denial of a preliminary injunction, we find that
      Plaintiffs-Appellants have not made their ‘clear showing.’”). The Court
      fully adopts that reasoning and conclusion here and finds that the
      Delisting Action is not a rule and was thus properly promulgated
      through adjudication. Therefore, Plaintiffs’ Motion is DENIED, and the
      FDA Defendants’ Motions are GRANTED on claims one and six.

      B. Unlawful Interpretation Claim
         Plaintiffs’ fifth claim is based on their assertion that the FDA did not
      comply with “the best reading of the statute” as required by Loper

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      Bright. ECF Nos. 1 at 18–20; 71 at 21–22. Similar to above, as Plaintiffs
      acknowledge in their Motion, the Court has previously addressed
      Plaintiffs’ arguments on this claim. ECF No. 71 at 21; OFA I, 2025 WL
      1397537, at *2–5. Thus, the Court has already thoroughly analyzed and
      decided this issue. The Court fully adopts that reasoning and conclusion
      here and holds that the FDA correctly applied the statute when issuing
      the Delisting Action. Therefore, Plaintiffs’ Motion is DENIED, and the
      FDA Defendants’ Motions are GRANTED on claim five.

      C. Arbitrary and Capricious Claims
         The Court now turns to Plaintiffs’ second, third, and fourth claims
      which assert that the Delisting Action was arbitrary and capricious.
      Agency decisions are “presumptively valid; the [plaintiff] bears the
      burden of showing otherwise.” Barr v. SEC, 114 F.4th 441, 447 (5th Cir.
      2024); Tex. Med. Ass’n v. U.S. Dep’t of Health & Hum. Servs., 120 F.4th
      494, 504 (5th Cir. 2024) (citation modified). “If the agency articulates a
      rational relationship between the facts found and the choice made it
      does not act arbitrarily or capriciously.” Joseph v. Dir. of Tex. Serv. Ctr.,
      U.S. Citizenship & Immigr. Servs., No. 24-40249, 2025 WL 458001, at
      *3 (5th Cir. Feb. 11, 2025) (quoting Louisiana ex rel. Guste v. Verity, 853
      F.2d 322, 327 (5th Cir. 1988)). The “focal point” of that review “should
      be the administrative record already in existence, not some new record
      made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142
      (1973). And “[j]udicial review under that standard is deferential, a[s] a
      court may not substitute its own policy judgment for that of the agency.”
      FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021). While courts
      “may not supply a reasoned basis for the agency’s action that the agency
      itself has not given,” courts are to “uphold a decision of less than ideal
      clarity if the agency’s path may reasonably be discerned.” Tex. Med.
      Ass’n, 120 F.4th at 504 (citing Motor Vehicle Mfrs. Ass’n of U.S. v. State
      Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)).

         Here, Plaintiffs assert that the Delisting Action is arbitrary and
      capricious because: (1) the FDA failed to accurately account for
      compounding supply in its demand projection; (2) the FDA failed to
      address a Novo Executive’s statement; (3) Novo lacked sufficient supply


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      even without accounting for compounding; and (4) the FDA improperly
      ignored countervailing evidence. See ECF No. 71 at 8–21.

         1. Compounding Supply
          Plaintiffs argue the Delisting Action was arbitrary and capricious
      because the FDA completely ignored that Novo “itself estimated that
      20% of the market was satisfied by compounders” and “it could satisfy,
      at best,                              .” ECF No. 71 at 9. A review of the
      record reveals that Plaintiffs misread 1 the very statements they cite to.
      First, the FDA asked Novo about the 20% estimate. ECF No. 49-2 at 262.
      Second, the 20% estimate comes not from Novo but a CNN article
      quoting an analyst at a financial firm. Third, the estimate deals with
      compounding of both tirzepatide and semaglutide, so it included drugs
      not at issue here. Id. Fourth, it included unapproved or off-label users.
      Id. And fifth, Novo explicitly stated “the 20 percent estimate is not an
      appropriate estimate to project demand for Novo Nordisk’s
      approved semaglutide injection products following removal from the
      Drug Shortage List.” Id. (emphasis added)

          Moreover, Novo estimated that it will be able to
                                       as Plaintiffs claim. Id. at 391. Thus, even
      if Plaintiffs were right that the FDA had to apply a 1:1 demand increase
      for the 20% estimate—which they are not—the record demonstrates
                                                 .

         2. The Novo Executive’s statement
          Plaintiffs next ask the Court to “vacate and remand the Decision to
      afford the FDA the opportunity to address” two statements made by
      Novo’s CEO in a November 2024 interview with Reuters. ECF No. 71 at
      10–11. Specifically, Plaintiffs emphasize that the Delisting Action fails
      to evaluate two statements made by Novo’s CEO in that interview:
      (1) that “there are far more patients who would like to have the


         1In cases where such mistakes can be attributed to either an accidental

      misread or an intentional mischaracterization, the Court prefers to attribute
      them to accident rather than malice. However, Plaintiffs’ consistent and
      pervasive pattern of similar mistakes, in this case and OFA I, has made it
      increasingly difficult for the Court to assume they are the product of accident.

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      treatment than what both Lilly and we can supply” (ECF No. 49-2 at
      262); and (2) “we’ll also see more volumes going into the U.S. market
      because we see an intact demand there, and we’re far from saturating
      that demand.” Id. As a preliminary matter, in the Delisting Action the
      FDA was not “required to discuss each and every piece of evidence or
      write an exegesis on every contention.” Kurshumi v. Ashcroft, 102 F.
      App’x 172, 175 (1st Cir. 2004); see also Deep v. Barr, 967 F.3d 498, 503
      (5th Cir. 2020); also Pub. Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C.
      Cir. 1993) (Agencies need not “discuss every item of fact or opinion
      included in the submissions” they receive). Thus, the omission of the
      CEO’s statements from the Delisting Action is not dispositive in the
      arbitrary analysis.

         Plaintiffs claim the FDA erred by failing to evaluate these
      statements. ECF No. 71 at 11. However, the very record cited by
      Plaintiffs shows the FDA was aware of the comments and concerned
      about them. ECF No. 49-2 at 262 (the FDA asking Novo about these
      statements and what they mean with regard to the availability of the
      Novo Drugs in the United States). Novo responded to that inquiry by
      explaining the first statement refers to the global market for both the
      Novo Drugs and the Lilly Drugs—not just the Novo Drugs in the United
      States. Id. Further, Novo provided that the second statement “refers
      generally to the need for diabetes and obesity treatments, not the
      specific demand for” the Novo Drugs. Id. Novo then continued its
      response by referring to the detailed data it provided to demonstrate
      that supply is outpacing demand in the United States market. Id. at
      262–63. Because the FDA did not simply ignore the comments but
      rather confronted Novo with them, the Court holds that Plaintiffs failed
      to demonstrate that it was arbitrary for the FDA to give more weight to
      data and other detailed evidence than to two statements by Novo’s CEO
      in early November 2024 that are seemingly taken out of context.

         3. Other Arguments
         Next, Plaintiffs assert the FDA “acted arbitrarily in ratifying
      [Novo]’s assertions” because: (1) Novo
              ; (2) the FDA’s demand calculation was                         ;


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      (3) Novo’s inventory data is confusing and opaque; 2 and (4) the Delisting
      Action does not adequately explain the choice of time period. ECF No.
      71 at 11. Plaintiffs raised the first three arguments at the
      preliminary-injunction stage, and they provide no new evidence to
      support them now. Compare ECF No. 37 at 6–16, with ECF No. 71 at
      11–17. The Court thoroughly addressed the first three arguments in its
      order of the Motion for Preliminary Injunction. OFA II, 2025 WL
      1239727 at *4–7. The Court fully incorporates and adopts that reasoning
      and conclusion here. Thus, the Court will address only Plaintiffs’ new
      argument—the Delisting Action does not adequately explain the choice
      of time period.

        Plaintiffs argue that the Delisting Action is arbitrary because the
      FDA stated that it “needed ‘older data’” for its determination in OFA I
      but chose a shorter time period here. ECF No. 71 at 17–18. Plaintiffs
      cite to F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502 (2009) for the
      proposition that an agency must provide reasoned explanation for why
      “it is changing position.” Id. at 515. Plaintiffs argue, as they did in OFA
      I, that the only explanation is the FDA arbitrarily delegated its
      authority. This argument fails for three reasons. First, Plaintiffs—flip
      flopping their own position—misquote the FDA. 3 In OFA I, the FDA
      stated that it “permissibly considered older data.” OFA I, ECF No. 150
      at 6 (emphasis added). Second, just as in OFA I, the record does not
      support the assertion that the FDA allowed Novo to choose the time
      period. See, e.g., ECF No. 49-2 at 377 (“FDA Question 2a[:] Please
      provide the
                        for each strength for each of Ozempic and Wegovy.”),
      380 (“FDA Question 2d[:] Please provide the


                                                                             for each
      strength for each of Ozempic and Wegovy.”).


         2Despite    the Court and the FDA Defendants previously explaining
      Plaintiffs’ misreading of Tables 2 and 5 (See OFA I, 2025 WL 1239727 at *6),
      Plaintiffs once again emphasize that misreading. The Court refers Plaintiffs to
      FN 1.

         3See FN 1.


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         And third, the FDA’s choice to exercise its discretion in selecting a
      time period was not a “depart[ure] from a prior policy” or a “disregard
      [for] rules that [were] still on the books.” Fox Television Stations, Inc.,
      556 U.S. at 515. In fact, the FDA’s choice to evaluate a different time
      period than OFA I bolsters the Court’s decision that the Delisting
      Actions did “not promulgate a new policy-type rule or standard that will
      govern the FDA’s future actions” but rather “made a specific factual
      determination based on the statutory definition of shortage.” See OFA I,
      2025 WL 746028, at *8. Here, the FDA chose a time period that is
      consistent with the statutory mandate and made a determination on
      whether supply exceeds demand. It did not “depart from a prior policy”
      established in OFA I because OFA I did not establish a policy.

         4. Countervailing evidence
         Finally, Plaintiffs assert the Delisting Action “handwaved hundreds
      of pages of administrative record evidence” with “an almost
      breathtaking lack of evenhandedness.” ECF No. 71 at 18. Plaintiffs point
      to the following evidence to demonstrate the arbitrary nature of the
      FDA’s “handwav[ing]”: (1) a chart created by Plaintiffs for the purposes
      of this litigation; (2) website screen shots from                      ;
      (3) reports created by Hims and Hers for multiple drugs; and (4) letters
      from themselves and the Alliance for Pharmacy Compounding regarding
      compounding estimates. Id. at 18–19. Because the Court assumes
      Plaintiffs pointed out what they view as their best evidence, the Court
      will address each.

          First, Plaintiffs cite to a ten-page chart they created for this
      litigation. Id. at 18 (citing to ECF No. 39-1 at 238–48). Plaintiffs’ chart
      is not in the administrative record. Thus, it was not before the FDA
      when it made its determination. Accordingly, the Court finds it was not
      arbitrary for the FDA to not consider a chart that was not before it.

        Second, Plaintiffs cite to a series of screen shots taken in
          of wholesalers’ websites. ECF No. 71 at 19. Plaintiffs argue the
      FDA should have requested more information about the screen shots
      and that they evidence a nationwide shortage. Id. at 20. “The APA
      imposes no general obligation on agencies to conduct or commission

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      their own empirical or statistical studies.” Fed. Commc’ns Comm’n v.
      Prometheus Radio Project, 592 U.S. 414, 427 (2021). In the Delisting
      Action, the FDA discussed this evidence and explained that these
      “individual ‘snapshots’ in time” “do not undermine or outweigh the
      comprehensive information provided by Novo . . . .” ECF No. 49-2 at 39–
      40. The Court has addressed this issue and found that “[i]t is not
      unreasonable for the FDA to consider detailed and comprehensive
      evidence to be more persuasive than website screen shots, some of which
      were undated.” OFA II, 2025 WL 1239727 at *8. The Court’s prior
      decision has only been bolstered by its review of the administrative
      record. Thus, the Court determines that the FDA’s decision to give more
      weight to detailed and comprehensive evidence rather than website
      screen shots, was not unreasonable in light of the evidence before it.

         Third, Plaintiffs point the Court to the Hims and Hers reports. ECF
      No. 71 at 19. The Hims and Hers report were constructed based on a
      survey that was posted on their respective websites. See ECF No. 49-5
      at 1528. The surveys involved both tirzepatide and semaglutide
      products. See id. at 1529. And the issues with these very surveys have
      been identified by the FDA and previously discussed by this Court. See
      OFA I, 2025 WL 746028 at * 13 (“(1) there is no way to verify how many
      individuals actually filled out the reports, when they filled out the
      reports, or when their inability to obtain the drugs occurred; (2) the
      prompt does not define ‘inability to access’ so some may be reporting that
      a pharmacy was out of stock and others that their doctor did not
      prescribe them the medication.”). Plaintiffs have not provided the Court
      with any additional or new evidence which changes its prior
      determination that it was not unreasonable for the FDA to give less
      weight to this survey data. Thus, the Court again finds the same here.

         Fourth, and finally, Plaintiffs assert the FDA arbitrarily ignored
      their letter which estimated that
      were being filled by compounders. ECF No. 71 at 20. Further, Plaintiffs
      claim the FDA did not give sufficient weight to the Alliance for
      Pharmacy Compounding letter (hereinafter “APC letter”). Id. at 19–20.
      Beginning with the APC letter, in the Delisting Action, the FDA (despite
      questioning whether all doses were for approved uses) fully accepted the

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       APC letter’s compounding volume estimate. ECF No. 49-2 at 44 (“we
       assume for the purposes of this decision that the quantities reported by
       APC are accurate and add them to the quantities reported by
       outsourcing facilities . . . .”). Therefore, the FDA’s treatment of the APC
       letter was not arbitrary.

          Turning to the Plaintiffs’ letter, it is undisputed that the letter’s
       estimate is not mentioned in the Delisting Action. However, the FDA’s
       failure to explicitly discuss the letter in the Delisting Action does not
       make the decision arbitrary. Plaintiffs’ letter, without citing a single
       source or providing any empirical data, simply states that compounding
       makes up fifty percent of the market. ECF No. 49-4 at 113–14. In
       contrast, the Delisting Action discusses the reporting requirements that
       compounders are subject to and the data provided by that reporting.
       ECF No. 49-2 at 41–46. The FDA then added the estimated
       compounding number from the APC letter to the reported data. Id. at
       44. It was thus not unreasonable for the FDA not to credit an
       unsupported estimate that was far afield from what the actual data
       showed. And the FDA was not ”required to discuss each and every piece
       of evidence or write an exegesis on every contention.” Kurshumi, 102 F.
       App’x at 175; see also Deep 967 F.3d at 503. Consequently, the Court
       finds the FDA did not violate the APA by giving more weight to specific,
       reliable, comprehensive, and current information obtained through
       mandatory reporting than unsupported estimates from Plaintiffs.
       Accordingly, the Court will DENY Plaintiffs’ Motion for Summary
       Judgment and GRANT the FDA Defendants’ Motions for Summary
       Judgment as to these claims.

                                   CONCLUSION
          For the reasons set out above, Plaintiffs’ Motion for Summary
       Judgment is DENIED, and the FDA Defendants’ Motions for Summary
       Judgment are GRANTED.

          Given the agreed confidentiality agreement that was entered into by
       the Parties, and enforced by the Court, the undersigned finds it
       appropriate to file this unredacted opinion under seal. Shortly after the
       opinion is filed, the Parties will be provided, via email, an unsigned PDF

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       version of the order. It is ORDERED that, on or before 4:00 p.m.,
       June 18, 2025, the Parties shall submit, via response to the email, an
       agreed upon version of the order containing any appropriate redactions.
       After receiving and reviewing the Parties’ version, the Court will issue
       the redacted order.

          SO ORDERED on this 13th day of June 2025.




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